    2:18-mn-02873-RMG          Date Filed 03/22/22       Entry Number 2241         Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-                               MDL No. 2:18-mn-2873-RMG
      FORMING FOAMS PRODUCTS
      LIABILITY LITIGATION                        CASE MANAGEMENT ORDER NO. 19-B
                                                    This Document Relates to All Actions

  Second Amended Scheduling Order Governing First Water Provider Bellwether Trial

       This CMO 19-B further amends the schedule set forth in CMOs 19 and 19-A for the Water

Provider Bellwether Trial Pool cases. Specifically, this CMO 19-B allows additional time for

expert disclosures. The resulting schedule is as follows:

       1. Expert disclosures: Plaintiff shall submit its expert disclosures by March 18, 2022.
          Defendants shall submit their expert disclosures by April 29, 2022. Rebuttal expert
          reports shall be submitted by May 13, 2022.

       2. Expert discovery: The parties shall complete expert depositions by June 30, 2022.

       3. Summary judgment and Daubert motions: The parties shall file motions for summary
          judgment and Daubert motions by July 18, 2022. Response in opposition briefs shall
          be filed by August 15, 2022. Replies in support briefs shall be filed by August 30,
          2022.

       4. Recommendation of first bellwether case for trial: The parties shall file their
          recommendation, with supporting memoranda, of the first bellwether case for trial by
          September 15, 2022.

       5. Designation of first bellwether case for trial: The Court will designate the first
          bellwether case for trial by September 30, 2022.

       6. Pretrial motions: The parties shall file pretrial motions and motions in limine by
          October 14, 2022. Response in opposition briefs shall be filed by October 21, 2022.

       7. Pretrial disclosures: The parties shall file and exchange Fed. R. Civ. P. 26(a)(3)
          pretrial disclosures twenty-one (21) days prior to the date of jury selection. Within
          fourteen (14) days thereafter, a party shall file and exchange Rule 26(a)(3) objections,
          any objections of a deposition designation by another party, and any deposition
          counter-designations, pursuant to Rule 32(a)(4).

       8. Pretrial briefs: The parties shall furnish the Court with and serve their pretrial briefs
          ten (10) business days prior to the date of jury selection (Local Civil Rule 26.05). At
   2:18-mn-02873-RMG           Date Filed 03/22/22       Entry Number 2241           Page 2 of 2




          least five (5) business days prior to this deadline to submit pretrial briefs, counsel
          shall meet to exchange and mark all exhibits (Local Civil Rule 26.07).

       9. Trial: This case is subject to being called for jury selection and/or trial on or after
          January 1, 2023.

       AND IT IS SO ORDERED.

                                                      s/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge

March 22, 2022
Charleston, South Carolina
